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         Bright Data objects to paragraphs 5, 13, 16, 22 and 23 of the Declaration of Hagit Gal

  (“Gal Declaration,” Dkt. 168-16), submitted as exhibit O in support of Defendant’s opposition to

  the motion for corrective action (Dkt. 168), as comprising improper expert opinion under Federal

  Rule of Evidence (“FRE”) 702 regarding legal reporting and disclosure requirements under the

  United States Securities and Exchange Commission, without any representations or other

  showing that the declarant is qualified as an expert in this subject matter as required by FRE 702.

  Bright Data further objects to paragraphs 5, 13, 16, 22 and 23 of the Gal Declaration as

  comprising inadmissible opinions regarding governing law.         Bright Data further objects to

  paragraph 13 of the Gal Declaration as comprising impermissible hearsay under FRE 802 to the

  extent that this paragraph implies that statements regarding “compliance with securities law”

  were made by third-party declarant “securities law counsel.”




  Dated: June 1, 2022                              Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic

  service are being served this 1st day of June 2022, with a copy of this document via ECF or

  electronic mail.



                                              /s/ Ronald Wielkopolski




               CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

         I hereby certify that the foregoing document is being filed under seal pursuant to the

  Protective Order entered in this case.


                                              /s/ Ronald Wielkopolski
